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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, ex rel.
 MARK J. O’CONNOR and SARA F.
 LEIBMAN.,
                       Plaintiffs-Relators,
                                                            Civil Action No.: 20-cv-2070 (TSC)
         v.

 UNITED STATES CELLULAR
 CORPORATION, et al.,
                      Defendants.


                             RELATORS’ NOTICE OF APPEAL

       Relators Mark J. O’Connor and Sara F. Leibman (“Relators”) hereby appeal to the United

States Court of Appeals for the District of Columbia Circuit, pursuant to Federal Rule of

Appellate Procedure 3, this Court’s March 9, 2023 Order, Dkt. No. 190, granting Defendants’

joint motions to dismiss Relator’s First Amended Complaint, see Dkt. Nos. 174, 178, 179, 180.



                                             By: /s/ Sara M. Lord
                                             Sara M. Lord
                                             ARNALL GOLDEN GREGORY LLP
                                             2100 Pennsylvania Ave NW, Suite 350 S
                                             Washington, DC 20037
                                             Telephone: 202.677.4058
                                             Fax: 202.677.4059
                                             sara.lord@agg.com

                                             Benjamin J. Vernia, DC Bar No. 441287
                                             THE VERNIA LAW FIRM
                                             1455 Pennsylvania Avenue NW, Suite 400
                                             Washington, DC 20004
                                             Telephone: 202.349.4053
                                             Fax: 866.572.6728

Date: April 7, 2023
